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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                     PLAINTIFF

vs.                                 NO. 4:09CR00232-02 SWW

DERICK RAY BEARDEN                                                           DEFENDANT

                                             ORDER

       The above entitled cause came on for hearing on the government’s motion to revoke the

supervised release previously granted this defendant in the United States District Court for the

Eastern District of Arkansas. Upon the basis of statements on the record, the Court found that the

defendant has violated the conditions of supervised release without just cause. However, the Court

has determined that defendant’s supervised release should not be revoked at this time but instead

will modify the conditions.

       IT IS THEREFORE ORDERED that the government’s motion to revoke [doc #138] is

denied without prejudice and the defendant’s term of supervised release shall be modified to include

the following special conditions:

       1. The defendant shall serve a period of SIX (6) MONTHS in a residential re-entry center
       under the guidance and supervision of the U. S. Probation Office. The defendant is to remain
       in custody until the date he enters the residential re-entry center.

       2. The defendant shall resume mental health counseling under the guidance and supervision
       of the U. S. Probation Office.

       3. Defendant shall participate in some type of self-help programs such as AA or NA under
       the guidance and supervision of the U. S. Probation Office.

       4. Defendant shall maintain or be actively seeking employment under the guidance and
       supervision of the U. S. Probation Office.

       All other conditions of defendant’s supervised release previously imposed shall continue

and remain in full force and effect until the expiration of his term of supervised release. The Court
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reminds defendant that any further violation of the terms of his supervised release could result in

revocation of his release.

       IT IS FURTHER ORDERED that the defendant shall be remanded to custody and the

execution of the sentence in this matter is held in abeyance pending defendant’s placement in the

designated residential re-entry center.

       IT IS SO ORDERED this 9th day of May 2014.

                                                            /s/Susan Webber Wright

                                                            United States District Judge
